Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 1 of 27




           EXHIBIT A
     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 2 of 27




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

JORGE ZEPEDA,                                   §
   Plaintiff,                                   §
                                                §
v.                                              §       CIVIL ACTION NO. 7:21-cv-00383
                                                §          JURY TRIAL DEMANDED
LOWE’S HOME CENTERS, LLC                        §
Defendant.                                      §




                        DEFENDANT LOWE’S HOME CENTERS, LLC’S
                            INDEX OF MATTERS BEING FILED


       Defendant, LOWE’S HOME CENTERS, LLC ("Lowe’s"), files this Index of Matters

Being Filed pursuant to Local Rule 81 of the Southern District of Texas, as follows:

       Exhibit 1:       All Executed Process:

                        •   Affidavit of Service as to Lowe’s Home Centers, LLC

       Exhibit 2:       All State Court Pleadings:

                    •   Plaintiff's Original Petition filed September 1, 2021
                    •   Defendant Lowe’s Original Answer filed October 1, 2021
                    •   Defendant Lowe’s Jury Demand filed October 1, 2021

       Exhibit 3:       State Court Docket Sheet

       Exhibit 4:       List of all counsel of record, including addresses, telephone
                        numbers, and parties represented.
Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 3 of 27




           EXHIBIT 1
                 (All Executed Service of Process)
               Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 4 of 27




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23742865
Notice of Service of Process                                                                            Date Processed: 09/09/2021

Primary Contact:           Heather McClow
                           Lowe's Companies, Inc.
                           1000 Lowes Blvd
                           Mooresville, NC 28117-8520

Entity:                                       Lowe's Home Centers, LLC
                                              Entity ID Number 2515365
Entity Served:                                Lowe's Home Centers, LLC
Title of Action:                              Jorge Zepeda vs. Lowe's Home Centers, LLC
Matter Name/ID:                               Jorge Zepeda vs. Lowe's Home Centers, LLC (11547281)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Hidalgo County Court at Law, TX
Case/Reference No:                            CL-21-3070-D
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/08/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Martin L. Perez
                                              956-322-8997

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
             Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 5 of 27

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                                             CAUSE NO. CL-21-3070-D
THE STATE OF TEXAS
COUNTY OF HIDALGO


 NOTICE TO DEFENDANT: "You have been sued. You inay employ an attorney. If you or your attorney do not file
a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty (20) days after you were served this citation and petition, a default judgment may be taken against you."

       To:     LOWE'S HOME CENTERS, LLC
               MAY BE SERVED WITH PROCESS BY SERVING THE REGISTERED AGENT OF SAID
               COMPANY AT:
               CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE
               COMPANY
               211 E 7TH ST 620
               AUSTIN TX 78701-3218
               OR ANY OTHER LOCATION WHERE THEY MAY BE FOUND

GREETINGS: You are commanded to appear by filing a written answer to the Plaintiff s petition at or before 10
o'clock A.M. on or before the Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable County Court At Law #4 of Hidalgo County, Texas, by and through the Hidalgo County Clerk at
100 N. Closner, First Floor, Edinburg, Texas 78539. In addition to filing a written answer with the clerk, you may be
required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said Plaintiff's Petition was filed in said Court, on the lst day of September, 2021 in this Cause Numbered CL-21-
3070-D on the docket of said Court, and styled,

                                              JORGE ZEPEDA
                                                   vs.
                                         LOWE'S HOME CENTERS, LLC

The nature of Plaintiff s demand is fully shown by a true and con•ect copy of Plaintiff's Original Petition accompanying
this Citation and made a part hereof.

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  MARTIN L. PEREZ
  LAW OFFICE OF MARIO DAVILA
  PO BOX 3726
  MCALLEN TX 78502

The officer executing this citation shall promptly serve the same according to requirements of law, and the mandates
hereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at Edinburg, Texas this 2nd day of
September, 2021.

                                             tiit4
                                                            ARTURO GUAJARDO, JR.
                                                            COUNTY CLERK, HIDALGO WUNTY, TEXAS
                                                            100 N. CLOSNER
                                         `                  EDINB ~G, XAS 78539
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Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 6 of 27




           EXHIBIT 2
                    (All State Court Pleadings)
               Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 7 of 27




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23742865
Notice of Service of Process                                                                            Date Processed: 09/09/2021

Primary Contact:           Heather McClow
                           Lowe's Companies, Inc.
                           1000 Lowes Blvd
                           Mooresville, NC 28117-8520

Entity:                                       Lowe's Home Centers, LLC
                                              Entity ID Number 2515365
Entity Served:                                Lowe's Home Centers, LLC
Title of Action:                              Jorge Zepeda vs. Lowe's Home Centers, LLC
Matter Name/ID:                               Jorge Zepeda vs. Lowe's Home Centers, LLC (11547281)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Hidalgo County Court at Law, TX
Case/Reference No:                            CL-21-3070-D
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/08/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Martin L. Perez
                                              956-322-8997

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
             Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 8 of 27

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                                             CAUSE NO. CL-21-3070-D
THE STATE OF TEXAS
COUNTY OF HIDALGO


 NOTICE TO DEFENDANT: "You have been sued. You inay employ an attorney. If you or your attorney do not file
a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty (20) days after you were served this citation and petition, a default judgment may be taken against you."

       To:     LOWE'S HOME CENTERS, LLC
               MAY BE SERVED WITH PROCESS BY SERVING THE REGISTERED AGENT OF SAID
               COMPANY AT:
               CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE
               COMPANY
               211 E 7TH ST 620
               AUSTIN TX 78701-3218
               OR ANY OTHER LOCATION WHERE THEY MAY BE FOUND

GREETINGS: You are commanded to appear by filing a written answer to the Plaintiff s petition at or before 10
o'clock A.M. on or before the Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable County Court At Law #4 of Hidalgo County, Texas, by and through the Hidalgo County Clerk at
100 N. Closner, First Floor, Edinburg, Texas 78539. In addition to filing a written answer with the clerk, you may be
required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said Plaintiff's Petition was filed in said Court, on the lst day of September, 2021 in this Cause Numbered CL-21-
3070-D on the docket of said Court, and styled,

                                              JORGE ZEPEDA
                                                   vs.
                                         LOWE'S HOME CENTERS, LLC

The nature of Plaintiff s demand is fully shown by a true and con•ect copy of Plaintiff's Original Petition accompanying
this Citation and made a part hereof.

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  MARTIN L. PEREZ
  LAW OFFICE OF MARIO DAVILA
  PO BOX 3726
  MCALLEN TX 78502

The officer executing this citation shall promptly serve the same according to requirements of law, and the mandates
hereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at Edinburg, Texas this 2nd day of
September, 2021.

                                             tiit4
                                                            ARTURO GUAJARDO, JR.
                                                            COUNTY CLERK, HIDALGO WUNTY, TEXAS
                                                            100 N. CLOSNER
                                         `                  EDINB ~G, XAS 78539
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                Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 9 of 27


-•   - SHERIFF'S/CONSTABLE'S/CIVIL PROCESS

     SHERIFF' S RETURN
             Came to hand on the             day of                                , 20           , at             o'clock
     M., by Deputy (Sheriff/Constable)/Civil Process Server and to-wit the following:

     DEFENDANT SERVED

               Service was EXECUTED on the above referenced Defendant, in person, in Hidalgo County, Texas and served with
     a true copy of this Citation, with the date of delivery endorsed thereon, together with the accompanying copy of the
     Plaintiff's Petition, at the following
     Date, time, and place, to-wit:

              NAME                               DATE                 TIME             PLACE


              By:
                        CIVIL PROCESS SERVER                                              DEPUTY SHERIFF/CONSTABLE

     DEFENDANT NOT SERVED
               Service was ATTEMPTED at the above address on the above referenced Defendant on the following date(s) and
     time(s), but to no avail:

              NAME                            DATE                  TIME                  PLACE

              NAME                            DATE                  TIME                  PLACE

              NAME                            DATE                  TIME                  PLACE


              By;
                        CIVIL PROCESS SERVER                                    DEPUTY SHERIFF/CONSTABLE


                                COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,
                                             CONSTABLE OR CLERK OF THE COURT
     In accordance to rale 107, the officer or authorized person who serves or attempts to serve a citation must sign the return. If
     the return is signed by a person other than a sheriff, constable or the clerk of the court, the return must either be verified or be
     signed under the penalty of perjury. A return signed under penalty of perjury must contain the statement below in
     substantially the following form:

     "My name is                                     , my date of birth is                        and my address is

                                                . I declare under penalty of perjury that the foregoing is true and correct

     EXECUTED in                        County, state of Texas, on the _     day of             , 20



     DECLARANT


     If Certified by the Supreme Court of Texas
     Date of Expiration /SCH Number
      Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 10 of 27
                                                                            Electronically Submit
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                                                                                                Hidalgo County CI
                                                                                        Accepted by: Gregorio M;
                                                 CL-21-3070-D
                                 CAUSE NO

JORGE ZEPEDA                                 §              IN THE COUNTY COURT
  PLAINTIFF                                  §
                                             §
Vs.                                          §              AT LAW NUMBER
                                             §
LOWE'S HOME CENTERS, LLC                     §
  DEFENDANT                                  §              HIDALGO COUNTY, TEXAS

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:
       COMES NOW, JORGE ZEPEDA (hereinafter referred to by her name and/or as
"PLAINTIFF") complaining of LOWE'S HOME CENTERS, LLC, (hereinafter referred to by
name and/or as "DEFENDANT"), and for cause of action would respectfully show the Court the
following:


                   I. DISCOVERY PLAN AND DISCOVERY REQUESTS
       PLAINTIFF intends to conduct discovery under Leve13 pursuant to Rule 190, Texas Rules
Civil Procedure.
       PLAINTIFF requests pursuant to Rule 194.1, 194.2, 194.3, and 194/4 that DEFENDANT
disclose within thirry (30) days of filing of its answer of this lawsuit the information or material
described in Rule 194.2 b(1-12). of the Texas Rules of Civil Procedure. The original answers are
to be forwarded to PLAINTIFFS' attorney of record.


                                           II. PARTIES
       PLAINTIFF is a resident of HIDALGO, Texas.
       DEFENDANT LOWE'S HOME CENTERS, LLC is a business entity doing business in
Texas, and may be served with process by serving the registered agent of said company at:
CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE
COMPANY, 211 E. 7TH ST., 620, AUSTIN, TEXAS 78701-3218 certified mail return receipt
requested or any other location where they may be found. Service of said Defendant as described
above can be effected by any of the methods allowed by the Texas Rules of Civil Procedure.




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        Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 11 of 27
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                                                                                        Accepted by: Gregorio M,
                                        III. ASSUMED NAMES
         Pursuant to Rule 28 of the Texas Rules of Civil Procedure, PLAINTIFF is suing any
  partnership, unincorporated association, a private corporation, or individual whose name contains
  the words or who does business under or as LOWE'S HOME CENTERS, LLC it is the intent
  of Plaintiff to file lawsuit against the owners, occupiers, property managers and/or
  controllers of the LOWE'S located at 707 SOUTH JACKSON AVE., PHARR, TEXAS 78577



                                  III. JURISDICTION AND VENUE

         PLAINTIFF brings this suit to recover damages against DEFENDANT for sustained
  losses, damages and personal injuries suffered by PLAINTIFF. PLAINTIFF has sustained
  damages in a monetary relief of LESS THAN 250,000 within the jurisdictional requirements of this
  Court. Venue of this proceeding is proper in HIDALGO, Texas, pursuant to Texas Civil Practice
  and Remedies Code Section 15.002. PLAINTIFFS' cause of action arose in COUNTY
A. NOTICE OF NONREMOVABLE CLAIM
         PLAINTIFF is not pleading any federal claims as this case involves a matter of controversy
  of less than $75,000.00 as Plaintiff so stipulates.



                                    IV. STATEMENT OF FACTS
         On or about MAY 17, 2021, PLAINTIFF JORGE ZEPEDA was a customer at
  DEFENDANT LOWE'S HOME CENTERS, LLC located at 707 SOUTH JACKSON AVE.,
  PHARR, TEXAS 78577.            The PLAINTIFF was at DEFENDANT'S STORE WHEN ITEMS
  FROM A SHELF FELL ON PLAINTIFF due to improper maintenance. As a result of the accident
  PLAINTIFF suffered severe personal injuries.


                                       V. CAUSES OF ACTION
         PLAINTIFF has the following causes of action against DEFENDANT:
  A.     NEGLIGENCE
         PLAINTIFF has a negligence cause of action against DEFENDANT because they meet the
  following required elements:
         1.      The DEFENDANT owed a legal duty to the PLAINTIFF;
         2.      The DEFENDANT breached the duty; and
         3.      The breach proximately caused the PLAINTIFF's injuries.
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           Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 12 of 27
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                                                                                                Accepted by: Gregorio M.
,.   B.     PREMISES LIABILITY
            PLAINTIFF has premises liability cause of action against DEFENDANT because they
     meet the following elements required in a cause of action brought by an invitee:
            1.      PLAINTIFF was an invitee;
            2.      The DEFENDANT was the possessor of the premises;
            3.      A condition on the premises posed an unreasonable risk of harm;
            4.      The DEFENDANT knew or reasonably should have known of the danger;
            5.      The DEFENDANT breached its duty of ordinary care by both:
                    (A)       Failing to adequately warn the PLAINTIFF of the condition, and
                    (B)       Failing to make the condition reasonably safe; and
            6.      The DEFENDANT's breach proximately caused the PLAINTIFF's injuries.


                                         VI. PLAINTIFF'S DAMAGES
            PLAINTIFF hereby pleas the following damages that were caused as a direct and
     proximate result of the occurrence made the basis of this lawsuit:
            A.      Reasonable medical care and expenses in the past. These expenses were incurred by
                    PLAINTIFF for the necessary care and treatment of the injuries resulting from the
                    accident complained of herein and such charges are reasonable and were usual and
                    customary charges for such services in HIDALGO COUNTY, Texas;
            B.      Reasonable and necessary medical care and expenses which in all reasonable
                    probability be incurred in the future;
            C.      Physical pain and suffering in the past;
            D.      Physical pain and suffering in the future;
            E.      Physical impairment in the past;
            F.      Physical impairment which, in all reasonable probability, will be suffered in the
                    future;
            G.      Loss of earnings in the past;
            H.      Loss of earning capacity which will, in all probability, be incurred in the future;
            I.      Mental anguish in the past;
            J.      Mental anguish in the future; and
            K.      Disfigurement.




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     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 13 of 27
                              CL-21-3070-D                                 Electronically Submit
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                                                                                   Accepted by: Gregorio M,
                                         VII. PRAYER
       WHEREFORE, PLAINTIFF requests that DEFENDANT be cited to appear and a.nswer
and that, on final trial, PLAINTIFF has the following:
       A.     Judgment against DEFENDANT in monetary relief of LESS than $250,000
       B.     Prejudgment and post judgment interest as provided by law; and
       C.     Such other relief to which PLAINTIFF inay be justly entitled.


                                            Respectfully submitted,
                                            LAW OFFICES OF MARIO DAVILA
                                            P.O. Box 3726
                                            McAllen, Texas 78502
                                            Telephone (956) 322-8997
                                            Facsimile (956) 682-3550

                                            BY:       fW MG*t'WV L. Pervlk
                                                      Martin L. Perez
                                                      Texas State Bar No.: 24041675
                                                      Email: mlperezattorney@gmail.com
                                                      Attorneys for Plaintiff




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                                                                                               Hidalgo County Clerk
                                                                                       Accepted by: Sandra Falcon


                                       CAUSE NO. CL-21-3070-D

JORGE ZEPEDA,                                     §                  IN THE COUNTY COURT
   Plaintiff,                                     §
                                                  §
v.                                                §                        AT LAW NUMBER 4
                                                  §
LOWE’S HOME CENTERS, LLC,                         §
  Defendant.                                      §               HIDALGO COUNTY, TEXAS



                    DEFENDANT LOWE’S HOME CENTERS, LLC’S
               ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION



         Defendant, Lowe’s Home Centers, LLC, hereby files its Original Answer to

Plaintiff’s Original Petition as follows:

                                          GENERAL DENIAL

         1.        Defendant denies each and every, all and singular, the material allegations

contained within Plaintiff’s pleadings and demands strict proof thereof.

                                         SPECIAL EXCEPTION

         2.        Defendant specially excepts to the Plaintiff’s Petition because Plaintiff fails

to properly plead the damages she seeks in this case. Pursuant to Texas Rule of Civil

Procedure 47(c) (the "Rule"), Plaintiff must plead one of the five specified statements in

the Rule assigning the only available ranges of monetary damages permitted and Plaintiff

has failed to do so. A party that fails to comply with Rule 47(c) may not conduct discovery

until the party’s pleading is amended to comply.


ZEPEDA / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                                  1|P A G E
Doc# 7806479v1 (10091.00216)
     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 16 of 27Electronically Submitted
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                                                                                          Hidalgo County Clerk
                                                                                  Accepted by: Sandra Falcon


                                         PRAYER FOR RELIEF

         Defendant prays that Plaintiff take nothing by this lawsuit, that Defendant go

hence with its costs without delay, and for such other and further relief, both general and

special, at law and in equity, to which Defendant may show itself justly entitled.



                                              Respectfully submitted,

                                              MAYER LLP

                                              4400 Post Oak Parkway, Suite 1980
                                              Houston, Texas 77027
                                              713.487.2000 / Fax 713.487.2019

                                              By:    Raul I. Saenz
                                                    Kevin P. Riley
                                                    State Bar No. 16929100
                                                    E-Mail: kriley@mayerllp.com
                                                    Raul I. Saenz
                                                    State Bar No. 24093092
                                                    E-Mail: rsaenz@mayerllp.com

                                              ATTORNEYS FOR DEFENDANT
                                              LOWE’S HOME CENTERS, LLC




ZEPEDA / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                            2|P A G E
Doc# 7806479v1 (10091.00216)
     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 17 of 27Electronically Submitted
                                                                                           10/1/2021 5:29 PM
                                                                                         Hidalgo County Clerk
                                                                                 Accepted by: Sandra Falcon




                                     CERTIFICATE OF SERVICE

      This is to certify that on the 1st day of October 2021, a true and correct copy of the
foregoing has been forwarded to all counsel of record as follows:

             Martin L. Perez                   ☒E-MAIL/E-SERVICE
      LAW OFFICES OF MARIO DAVILA              ☐HAND DELIVERY
             P.O. Box 3726                     ☐FACSIMILE
          McAllen, Texas 78502                 ☐OVERNIGHT MAIL
       mlperezattorney@gmail.com               ☐REGULAR, FIRST CLASS MAIL
                                               ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED
          ATTORNEY FOR PLAINTIFF

                                               Raul I. Saenz
                                              Raul I. Saenz




ZEPEDA / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                            3|P A G E
Doc# 7806479v1 (10091.00216)
        Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 18 of 27

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Chrysa Williams on behalf of Raul Saenz
Bar No. 24093092
cwilliams@mayerllp.com
Envelope ID: 57815069
Status as of 10/4/2021 8:23 AM CST

Associated Case Party: Jorge Zepeda

Name                    BarNumber     Email                  TimestampSubmitted Status

jennamdlaw @gmail.com                 jennamdlaw@gmail.com   10/1/2021 5:29:45 PM    SENT



Associated Case Party: Lowe's Home Centers, LLC

Name              BarNumber   Email                  TimestampSubmitted     Status

Kathy Keefer                  kkeefer@mayerllp.com   10/1/2021 5:29:45 PM   SENT

Kevin Riley                   kriley@mayerllp.com    10/1/2021 5:29:45 PM   SENT

Raul Saenz                    rsaenz@mayerllp.com    10/1/2021 5:29:45 PM   SENT

Chrysa Williams               CWilliams@mayerllp.com 10/1/2021 5:29:45 PM   SENT
     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 19 of 27Electronically Submitted
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                                                                                   Accepted by: Sandra Falcon


                                       CAUSE NO. CL-21-3070-D

JORGE ZEPEDA,                                    §                    IN THE COUNTY COURT
   Plaintiff,                                    §
                                                 §
v.                                               §                        AT LAW NUMBER 4
                                                 §
LOWE’S HOME CENTERS, LLC,                        §
  Defendant.                                     §               HIDALGO COUNTY, TEXAS



                          DEFENDANT LOWE’S HOME CENTERS, LLC’S
                                     JURY DEMAND



         Defendant, Lowe’s Home Centers, LLC d/b/a Lowe’s, pursuant to the provisions

of Rule 216 of the Texas Rules of Civil Procedure, hereby formally makes this demand for

a Jury Trial in the above-referenced cause.

                                               Respectfully submitted,

                                               MAYER LLP

                                               4400 Post Oak Parkway, Suite 1980
                                               Houston, Texas 77027
                                               713.487.2003/Fax 713.487.2019

                                               By:    Raul I. Saenz
                                                     Kevin P. Riley
                                                     State Bar No. 16929100
                                                     kriley@mayerllp.com
                                                      Raul I. Saenz
                                                     State Bar No. 24093092
                                                     rsaenz@mayerllp.com

                                               ATTORNEYS FOR DEFENDANT


ZEPEDA / DEFENDANT LOWE’S HOME CENTERS, LLC
JURY DEMAND                                                                        1|P A G E
Doc# 7806480v1 (10091.00216)
     Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 20 of 27Electronically Submitted
                                                                                        10/1/2021 5:32 PM
                                                                                      Hidalgo County Clerk
                                                                              Accepted by: Sandra Falcon




                                     CERTIFICATE OF SERVICE

       This is to certify that on the 1st day of October 2021, a true and correct copy of
the foregoing has been forwarded to all counsel of record as follows:

           Martin L. Perez                    ☒E-MAIL/E-SERVICE
    LAW OFFICES OF MARIO DAVILA               ☐HAND DELIVERY
           P.O. Box 3726                      ☐FACSIMILE
        McAllen, Texas 78502                  ☐OVERNIGHT MAIL
     mlperezattorney@gmail.com                ☐REGULAR, FIRST CLASS MAIL
                                              ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED
         ATTORNEY FOR PLAINTIFF

                                               Raul I. Saenz
                                              Raul I. Saenz




ZEPEDA / DEFENDANT LOWE’S HOME CENTERS, LLC
JURY DEMAND                                                                    2|P A G E
Doc# 7806480v1 (10091.00216)
        Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 21 of 27

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certificate of service that complies with all applicable rules.

Chrysa Williams on behalf of Raul Saenz
Bar No. 24093092
cwilliams@mayerllp.com
Envelope ID: 57815187
Status as of 10/4/2021 8:22 AM CST

Associated Case Party: Jorge Zepeda

Name                    BarNumber     Email                  TimestampSubmitted Status

jennamdlaw @gmail.com                 jennamdlaw@gmail.com   10/1/2021 5:32:28 PM    SENT



Associated Case Party: Lowe's Home Centers, LLC

Name              BarNumber   Email                  TimestampSubmitted     Status

Raul Saenz                    rsaenz@mayerllp.com    10/1/2021 5:32:28 PM   SENT

Kevin Riley                   kriley@mayerllp.com    10/1/2021 5:32:28 PM   SENT

Chrysa Williams               CWilliams@mayerllp.com 10/1/2021 5:32:28 PM   SENT

Kathy Keefer                  kkeefer@mayerllp.com   10/1/2021 5:32:28 PM   SENT
Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 22 of 27




            EXHIBIT 3
                     ( State Court Docket Sheet)
                                         Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 23 of 27



  Case Information

     Jorge ZepedaVS.Lowe's Home Centers, LLC
     CL-21-3070-D

           Refresh                                               File Into


     Location                                       Case Category                         Case Type                                       Case Filed Date
     Hidalgo County - County Clerk                  Civil - Injury or Damage              Other Injury or Damage                          10/1/2021
     Judge

       Garza, Federico "Fred", Jr.




  Parties           2




   Type                                     Name                                                                  Attorneys

   Plaintiff                                                                                                     MARTIN L. PEREZ
                                           Jorge Zepeda

   Defendant                                                                                                     Kevin P. Riley
                                           Lowe's Home Centers, LLC




  Events            4




    Oldest          Search events                                                                                                                          All    All



                                                                                                           File Date
Petition                                                                                                   9/1/2021
Plaintiff's Original Petition

Name                                            Description                         Security Description               Pages      Price

Hidalgo Petition Cvr Ltr.pdf                    Hidalgo Petition Cvr Ltr.pdf        Does not contain                   1          $0.10                      Add
                                                                                    sensitive data

Plaintiff's Org. Petition.pdf                   Plaintiff's Org. Petition.pdf       Does not contain                   4          $0.40                      Add
                                                                                    sensitive data

                                                                                                           File Date
Citation Issued                                                                                            9/2/2021
LOWE?S HOME CENTERS, LLC

Name                                            Description                         Security Description               Pages      Price

CL-21-3070-D LOWE’S HOME                        CL-21-3070-D LOWE’S HOME            Does not contain                   2          $0.20                      Add
CENTERS LLC                                     CENTERS, LLC                        sensitive data
jennamdlaw@gmail.com.pdf                        jennamdlaw@gmail.com.pdf

                                                                                                           File Date
Answer/Response                                                                                            10/1/2021
Defendant Lowe's Home Centers, LLC's Original Answer to Plaintiff's Original Petition

Name                                            Description                         Security Description               Pages      Price

Zepeda - Lowe_s Original Answer.pdf             Zepeda - Lowe_s Original            Does not contain                   3          $0.30                      Add
                                                Answer.pdf                          sensitive data

                                                                                                           File Date
Request                                                                                                    10/1/2021
Defendant Lowe's Home Centers, LLC's Jury Demand

Name                                            Description                         Security Description               Pages      Price

Zepeda - Lowe_s Jury Demand.pdf                 Zepeda - Lowe_s Jury Demand.pdf     Does not contain                   2          $0.20                      Add
                                                                                    sensitive data



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Version: 2021.8.0.61




     Jorge ZepedaVS.Lowe's Home Centers, LLC
     CL-21-3070-D

        Refresh                           File Into
Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 25 of 27




            EXHIBIT 4
                   (List of All Counsel of Record)
      Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 26 of 27




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

 JORGE ZEPEDA,                                        §
    Plaintiff,                                        §
                                                      §
 v.                                                   §          CIVIL ACTION NO. 7:21-cv-00383
                                                      §             JURY TRIAL DEMANDED
 LOWE’S HOME CENTERS, LLC                             §
 Defendant.                                           §



               COUNSEL OF RECORD AND INFORMATION PURSUANT TO
                             LOCAL RULE CV-81(C)


(1)    A list of all parties in the case, their party type (e.g., plaintiff, defendant,
intervenor, receiver, etc.) and current status of the removed case (pending, dismissed);

        Plaintiff        Jorge Zepeda

        Defendant        Lowe’s Home Centers, LLC

        The removed case is currently pending.

(2)      A civil cover sheet and a certified copy of the state court docket sheet; a copy of all
pleadings that assert causes of action (e.g. complaints, amended complaints,
supplemental complaints, counterclaims, cross-actions, third party actions, interventions,
etc.); all answers to such pleadings and a copy of all process and orders served upon the
party removing the case to this court, as required by 28 U.S.C. § 1446(a).

        See attached civil cover sheet and documents attached to Defendant's Notice of
        Removal as Exhibit “B.”

(3)    A complete list of attorneys involved in the action being removed, including each
attorney's bar number, address, telephone number and party or parties represented by
him/her;



ZEPEDA/ COUNSEL OF RECORD AND INFORMATION PURSUANT TO LOCAL RULE CV-81(C)          P A G E |1
       Case 7:21-cv-00383 Document 1-1 Filed on 10/06/21 in TXSD Page 27 of 27




LAW OFFICES OF MARIO DAVILA                                MAYER LLP

Martin L. Perez                                            Kevin P. Riley
State Bar No. 24041675                                     State Bar No. 16929100
E-Mail: mlperezattorney@gmail.com                          Southern Bar No. 13766
P.O. Box 3726                                              E-Mail: kriley@mayerllp.com
McAllen, Texas 78502                                       Raul I. Saenz
956.322.8997 / F: 956.682.3550                             State Bar No. 24093092
                                                           Southern Bar No. 2924208
Counsel for Plaintiff                                      E-Mail: rsaenz@mayerllp.com
                                                           4400 Post Oak Parkway, Suite 1980
                                                           713.487.2000 / F: 713.487.2019

                                                           Counsel for Defendant
                                                           LOWE’S HOME CENTERS, LLC




 (4)    A record of which parties have requested a trial by jury (this information is in
 addition to placing the word "jury" at the top of the Notice of Removal immediately below
 the case number);

         Defendant, Lowe’s Home Centers, LLC has requested a trial by jury.

 (5)     The name and address of the court from which the case is being removed.

         Hidalgo County Court at Law Number 4
         100 N. Closer, Third Floor
         Edinburg, Texas 78539




 ZEPEDA/ COUNSEL OF RECORD AND INFORMATION PURSUANT TO LOCAL RULE CV-81(C)          P A G E |2
